Case 2:04-cr-20424-.]PI\/| Document 79 Filed 08/10/05 Page 1 of 3 Page|D 113

F“-ED BY @g`-~ D'C' F*.LED s'f:M_-D»C-
lN THE UNITED STATES DISTRICT COURT
05 AUG go PH w 21 FOR THE WESTERN DISTRICT OF TENNESSEE€ lylng __9 ?M 13 52

  

WESTERN DIVISION
ns a soon 1519 ,
CLEM'}i'%i~gr§r__Ep;s@@gmss oF AMERICA, ) gm list ' ,.T QQJnT
an sr z»..»;;»;-:t-rars Piaimifr, if ?»"~‘-Y`»'?F`t"»*b

     
  

C»-FNQOWYZF

 

 

 

s.
V norton gaining
LATONYA R. STEPHENS, JON IJH”IPP§ I|f:z“E:qLL/`;~
Defendant. ) j U.S. DISTP.ICT JUDGE
MOTION TO EXTEND TIME FOR FILING NOTICE _ AL

 

Comes now Latonya R. Stephens, Defendant, by and through her counsel, Robert
C. Irby, and respectfully moves the Court pursuant to Rule 33(b)(2), Fed. R. of Criminal
Procedure, for an extension of the time in which a notice of appeal may be iiled

pursuant to said Rules, and in support of which would show unto the Court the follow-

..SU'

aoue_r;duioo ug re

ing:

l. The Defendant does not want to appeal or intend to appeal the sentence
imposed by the Court; Defendant merely seeks to preserve the time period While the
Defendant prays the Court in another motion, a motion asking a question about the
law on Which the sentence imposed by the Court was based, and asking the Court to
reconsider the sentencing based upon hardship to the Defendant’s infant child;

2. The Judgment In A Criminal Case, signed by the Court on July 26, 2005, Was
entered on the docket sheets on July 26, 2005, but this counsel did not receive his copy
in the mail until August 2, 2005;

3. Ten days after the entry of the Judgment expires on August 9, 2005;

4. Defendant merely seeks to preserve things while asking the Court for a

-3 ur> diana (q)z€ lofpue 99 ama ui!M

otis iamch sur uo parents iuauinc)op s!qj_

Case 2:04-cr-20424-.]PI\/| Document 79 Filed 08/10/05 Page 2 of 3 Page|D 114

clariiication of the sentencing, and really has no intention of filing an appeal;
5. Therefore, Defendant Stephens respectfully moves the Court for an extension of
tirne, fourteen days, in Which to file a notice of appeal in this cause.

Respectfully Submitted,

%%/7,/€:

Robert C.`T?l'»y,`?§ny., BPR08472
4345 Ma]lory Ave. East
Memphis, Tennessee 381]1
682-7775

August 9, 2005

 

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing Motion will have been delivered to
the intake window at the oHice oer. Carroll Andre, Esq., AUSA, 167 No. Main St.,
8th Floor, Memphis, Tennessee 38103, by hand, before the Court sees it.

  

g Robert C. Ir y
August 9, 2005

 

     

UN1TED sTEsAT D1sTR1CT COURT - WESERT 1)1sTR1CT TNNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:04-CR-20424 was distributed by fax, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 38111

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

